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UNITED STATES DISTRICT COURT PEM Sep -9 py
MIDDLE DISTRICT OF FLORIDA ee PH ks 01
JACKSONVILLE DIVISION tn,
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IN ADMIRALTY

 

WILLIAM F. SHAFNACKER,
Plaintiff,

Vv.

CASE No: 4" \4-Qv-10SU4-D- Zam re

THE UNITED STATES OF AMERICA,

Defendant.

COMPLAINT

Plaintiff sues Defendant and alleges:

1. This is a case of admiralty and maritime jurisdiction as hereinafter more fully appears.
This is an admiralty or maritime claim within the meaning of Rule 9 (h). This court has
jurisdiction of this action by virtue of the Suits in Admiralty Act, 46 U.S.C. § 30901 et seq., or,
alternatively, by virtue of the Public Vessels Act, 46 U.S.C. § 31101 et seq.. This is a cause of
action seeking relief on both in rem and in personam principles.

2. Plaintiff WILLIAM F. SHAFNACKER is an individual who at all times material
hereto has resided in Jacksonville, Florida, and is the owner of the M/V DAMES POINTER.

3. The DAMES POINTER is a 43' fiberglass hull Hatteras motor vessel, bearing United
States Documentation Official Number 541506, bull LD. # 42C351.

4, Defendant United States of America is now and at all material times was the owner of

the vessel TORNADO 14 (TDO) (PC-14) which was at all material times operated by the United

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States Navy and was employed as a United States Navy Ship.

5. The vessel TORNADO 14 now is, or during the pendency of this action will be, within
this district.

6. If the said vessel had been privately owned and possessed, Plaintiff could have
maintained a complaint in rem against the vessel.

7. Ifa private person were in similar circumstances involved, Plaintiff could bring an
action against that person which would be within the admiralty and maritime jurisdiction of the
United States.

8. Administrative notice of this claim was duly presented and this claim was assigned
Department of the Navy Claim number ACC# 18-041, which was administratively denied on or
about September 26", 2018.

9, At the time of the circumstances giving rise to this Complaint, the vessel TORNADO
14 was in service as a United States Navy Ship and was at anchor or maneuvering within the St.
Johns River, within this Middle District.

10. On or about September 11, 2017 the vessel DAMES POINTER was secured to her
dock at 5632 Heckscher Drive, in Jacksonville, Florida, in anticipation of bad weather.

11. On or about September 11th, 2017, the SEA BISCUIT was at anchor in anticipation
of bad weather. During that time, the crew of the TORNADO 14 interfered with the anchored
SEA BISCUIT and maneuvered the TORNADO 14 vessel in such a manner as to increase the
risk of impact with the SEA BISCUIT. As the events progressed, the crew of the TORNADO 14
cut the anchor chain of the SEA BISCUIT, and cast that vessel free of her anchor and of all

control, leaving her adrift and not under command in bad weather. As a direct consequence of

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the actions of the crew of the TORNADO 14, SEA BISCUIT drifted to shore, through the dock
of a neighboring residence, allided with the DAMES POINTER, and was stranded aground,
doing substantial damage to the dock and the vessel DAMES POINTER, owned by Plaintiff
SHAFNACKER.

12. The actions of the vessel TORNADO 14 and those in charge of her were negligent
and in careless or reckless disregard of the safety of life and property in the surrounding area.

13. As a direct and proximate result of the negligence of the vessel TORNADO 14 and
those in charge of her, Plaintiff's property was damaged, and emergency towing of the vessel was
required. The reasonable cost for towing and repairs to the hull, machinery and appurtenances of
the vessel is $69,500.00.

14. Demand has been made on defendant United States of America by the plaintiff for
the payment of damages as aforesaid, but defendant United States of America has failed, refused,
and neglected to pay the amount demanded.

WHEREFORE, Plaintiff demands judgment against defendant for the sum of $69,500.00,
together with interest thereon, and costs of this action, and such other and further relief as this
court may deem proper.

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